  Dr. Sander Greenland is Plaintiff's expert on epidemiology and statistics. Dr. Greenland
  is Professor of Epidemiology, UCLA School of Public Health and Professor of Statistics,
  UCLA College of Letters and Science. He has been teaching epidemiology and statistics
  at the UCLA School of Public Health since 1979.

  Dr. Greenland received a Doctorate in Public Health (Dr.P.H. 1978) from the University
  of California, Los Angeles, where he majored in Epidemiology, minored in Mathematics,
  and received a Regents Fellowship in Epidemiology. He also received a Master’s degree
  in Mathematics from the University of California, Berkeley (1973), where Dr. Greenland
  received highest honors and a Regents Fellowship in Mathematics.

  Dr. Greenland is the author of over 300 peer-reviewed articles, over 60 published letters,
  over 130 published abstracts, and over 30 other publications (including book chapters and
  encyclopedia entries). He has written and published numerous peer-reviewed articles on
  the summarization, interpretation, and limitations of scientific literature.

  The textbook Dr, Greenland has co-authored with Rothman and Lash, Modern
  Epidemiology (3rd ed. 2008; Lippincott, Philadelphia), has been selected as the advanced
  epidemiologic text in numerous schools of public health and medicine. Modern
  Epidemiology also has been authoritatively cited in innumerable peer-reviewed journal
  articles and reviews including the Federal Judiciary Center’s Reference Manual on
  Scientific Evidence.

  Dr. Greenland has been invited to give and has given 200 presentations and workshops at
  such institutions as Oxford University, Cambridge University, Stanford University
  School of Medicine, Harvard School of Public Health, Yale University School of Public
  Health, Johns Hopkins School of Public Health, Columbia University School of Public
  Health, Case Western School of Medicine, Emory School of Public Health, Tulane
  School of Public Health, the National Cancer Institute, the Food and Drug
  Administration, the Centers for Disease Control, the Royal Statistical Society, and the
  Universities of Washington, Texas, North Carolina, Minnesota, Michigan, and California,
  as well as universities, research institutes, and conferences in England, Scotland,
  Germany, Denmark, Sweden, Finland, Norway, The Netherlands, France, Switzerland,
  Spain, Italy, Japan, Australia, and New Zealand.

  Dr. Greenland has served as an investigator on over 30 grants and contracts from
  numerous research agencies, including the Rockefeller Foundation, National Cancer
  Institute, National Institute of Child Health and Human Development, National Institute
  of Mental Health, National Institute of Environmental Health Science, National Institute
  of Allergy and Infectious Diseases, National Institute on Drug Abuse, National Center for
  Health Services Research, National Highway and Traffic Safety Administration, Public
  Health Institute, Electric Power Research Institute, and the State of California. He has
  also carried out research for private industry including the Battelle Corporation, Southern
  California Edison, Dow Corning Corporation, and General Electric Corporation.




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  Dr. Greenland has served as a consultant in epidemiology and statistics for numerous
  government agencies and private corporations, including the National Academy of
  Sciences, the National Institute of Environmental Health Sciences (NIEHS), the
  Environmental Protection Agency (EPA), the Food and Drug Administration (FDA), the
  Centers for Disease Control (CDC), the California State Attorney General’s Office
  (regarding risk assessment), the California State Department of Health, the World Health
  Organization (WHO), The March of Dimes, General Electric, Southern California
  Edison, Boehringer- Ingelheim, Amgen, and Dow Corning.

  Dr. Greenland has served three terms as an Associate Editor of the American Journal of
  Epidemiology (1984-98) and the journal Epidemiology (1989-2006), and now serves as
  an Associate Editor of Statistics in Medicine (1985-present) and the European Journal of
  Epidemiology (2003-present). He also serves as a regular referee for American Journal of
  Epidemiology, Epidemiology, International Journal of Epidemiology, and Statistics in
  Medicine, have served as a referee for the American Journal of Public Health, the
  American Statistician, Annals of Epidemiology, Biometrics, Biometrika,
  Communications in Statistics, Computational Statistics and Data Analysis, Controlled
  Clinical Trials, International Statistical Review, Journal of the American Medical
  Association, Journal of the American Statistical Association, Journal of Clinical
  Epidemiology, The New England Journal of Medicine, and the Scandinavian Journal of
  Work, Environment, and Health, and has served as a textbook reviewer for Oxford
  University Press, John Wiley & Sons, and other academic publishing houses.

  Dr. Greenland has received honors and professional certifications as a Fellow of the
  American Statistical Association and as a Fellow and a Chartered Statistician of the
  Royal Statistical Society. He is a member of the Biometric Society and the Society for
  Epidemiologic Research, and has served as an elected member of the Executive
  Committee for the latter society, which is the largest society of epidemiologists in the
  world today, and as Chair of the Epidemiology Section of the American Statistical
  Association, which is the largest statistical society in the world today.




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